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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                            CASE NO: 20-21553-CIV-COOKE/GOODMAN


     PATRICK GAYLE, et al.,

             Petitioners,
     v.

     MICHAEL W. MEADE, et al.,

           Respondents.
     ________________________________________/

                  RESPONDENTS’ CONSENT TO EXTENSION OF TEMPORARY
                          RESTRAINING ORDER TO JUNE 5, 2020

          Respondents, by and through their undersigned counsel, file their Consent to Extension of

   Temporary Restraining Order to June 5, 2020, and state:

          On April 30, 2020, this Court issued its temporary restraining order, which was valid for

   a period of fourteen (14) days. D.E. 76 at 11. On May 15, 2020, the Court extended its April

   30, 2020 temporary restraining order for an additional 14 days. D.E. 101.

          Pursuant to Fed.R.Civ.P. 65(b)(2), respondents consent to an extension of the temporary

   restraining order until June 5, 2020.

                                                 Respectfully submitted,

                                                 ARIANA FAJARDO ORSHAN
                                                 UNITED STATES ATTORNEY

                                           By:   s/ Dexter A. Lee
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